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Attorneys for Defendants

                    IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF ALASKA AT ANCHORAGE
KATIE VAN, individually and on behalf of
all others similarly situated,

                               Plaintiff,
                                               Case No. 3:18-cv-00197-HRH
v.

LLR, INC. d/b/a LuLaRoe, and                    DECLARATION OF BREWSTER H.
LULAROE, LLC,                                      JAMIESON IN SUPPORT
                                                  OF DEFENDANTS’ MOTION
                            Defendants.             FOR ATTORNEYS FEES

      I, Brewster H. Jamieson, declare as follows:
      1.     I am an attorney with Lane Powell LLC, counsel for Defendants.
      2.     Attached as Exhibit A is a detailed, slightly-redacted itemization of the time
spent and work performed by attorneys on this matter, and an accounting of fees
Defendants incurred for that work.



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         3.        Through February 28, 2019, Defendants have incurred $13,110 for the legal
service that Lane Powell provided Defendants as local counsel working with Snell &
Wilmer.
         4.        I charged an hourly rate of $425 and my colleague Michael Baylous
charged $395. These rates are reasonable based on rates charged by other firms in the
Anchorage area for partner-level work on complex litigation. Our firm would charge
hourly rates between $250 and $325 for associate-level work on complex litigation, and
such rates are also reasonable based on the Anchorage legal market.
         I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct to the best of my knowledge.
         DATED this 18th day of March, 2019.

                                                     s/ Brewster H. Jamieson
                                                    Brewster H. Jamieson
I certify that on March 18, 2019, a copy of
the foregoing was served electronically on:

R. Bruce Carlson, bcarlson@carlsonlynch.com
Kelly K. Iverson, kiverson@carlsonlynch.com
Kevin W. Tucker, ktucker@carlsonlynch.com
James J. Davis, Jr., jdavis@njp-law.com
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Steven T. Graham, sgraham@swlaw.com
Randolph T. Moore, rmoore@swlaw.com

s/ Brewster H. Jamieson
132017.0001/7608835.1




Declaration of Brewster H. Jamieson in Support of Defendants’ Motion for Attorney Fees
Katie Van v. LLR, Inc. d/b/a LuLaRoe, LuLaRoe, LLC (Case No. 3:18-cv-00197-HRH)          Page 2 of 2

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         Name                                             Narrative                                         Date      Hours    Amount
Jamieson, Brewster H.   File motion for extension and appearance                                         9/26/2018      0.30     127.50
Jamieson, Brewster H.   Review status of MTD                                                             10/3/2018      1.20     510.00
                        Teleconference with S. Graham and R. Moore regarding Alaska law and
Jamieson, Brewster H.   practice and sequence for preparation and review of motion to dismiss            10/4/2018      0.80     340.00
                        Telephone call w/ Snell and Wilmer re UTPA claim and motion to dismiss
                        (1.0); compile materials related to UTPA claim and "ascertainable loss"
Baylous, Michael        arguments (2.2)                                                                  10/4/2018      3.20    1,264.00
Baylous, Michael        Telephone call w/ R. Moore re briefing format                                    10/17/2018     0.30      118.50
Baylous, Michael        Review draft motion to dismiss, Webster order, and cited cases                   10/24/2018     1.50      592.50
                        Review, revise and provide further input to MTD and RFJN, including
Jamieson, Brewster H.   teleconferences to S. Graham and R. Moore                                        10/25/2018     2.40    1,020.00
Baylous, Michael        Revise motion                                                                    10/25/2018     3.00    1,185.00
                        Review, revise, finalize and supervise filing of MTD and RFJN, including
                        troubleshooting of technical filing issues and teleconferences with R.
Jamieson, Brewster H.   Moore regarding same                                                             10/26/2018     2.00     850.00
                        Review revised filings; prepare tax ordinances citations; facilitate filing of
Baylous, Michael        motions                                                                          10/26/2018     2.00     790.00
                        Prepare for, attend parties planning meeting; draft first cut at report of
Jamieson, Brewster H.   parties' planning meeting and forward same to co‐counsel                         11/13/2018     1.50     637.50
Baylous, Michael        Call with Steven and Randy re discovery schedule                                 11/13/2018     0.40     158.00
Jamieson, Brewster H.   Attend to details of RPPM preparation and finalization                           11/19/2018     0.80     340.00
Jamieson, Brewster H.   Attend to RPPM                                                                   11/26/2018     0.60     255.00
Baylous, Michael        Correspond with co and opposing counsel regarding disclosures                    11/26/2018     0.30     118.50
                        Correspond with parties re initial disclosure deadline (0.2); review
Baylous, Michael        opposition to motion to dismiss (0.5)                                            11/27/2018     0.70     276.50
Baylous, Michael        Prepare motion to extend deadlines                                               11/28/2018     0.40     158.00
Baylous, Michael        Telephone call with R. Moore re objections to Van declaration                     12/4/2018     0.30     118.50
Baylous, Michael        Correspond re deadline for reply                                                  12/5/2018     0.20      79.00
Baylous, Michael        Review plaintiff's opposition                                                    12/5/2018      0.40     158.00
Baylous, Michael        Call with Randy re reply                                                         12/13/2018     0.30     118.50
Baylous, Michael        Review reply                                                                     12/14/2018     1.80     711.00
Baylous, Michael        Review of reply and correspond re jurisdiction issues                            12/15/2018     2.50     987.50
                                                                                                                                  Exhibit A
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Baylous, Michael        Finalize reply for filing                                                   12/17/2018    1.10      434.50
Jamieson, Brewster H.   Respond to inquiry regarding protective order language                       1/2/2019     0.20       85.00
                        Receive request from Holland's chambers for oral argument dates and
Jamieson, Brewster H.   provide direction regarding same                                             2/1/2019     0.20       85.00
Baylous, Michael        Telephone call regarding attendance at hearing                               2/4/2019     0.30      118.50
Jamieson, Brewster H.   Review email from S. Graham                                                 2/21/2019     0.10       42.50
Jamieson, Brewster H.   Review status of MTD and discuss same with M. Baylous                       2/22/2019     0.30      127.50
Baylous, Michael        Prepare for oral argument, including call w/ C. Higgins                     2/27/2019     0.50      197.50
                        Review filings in preparation for oral argument (1.5); attend oral argument
                        (1.0); telephone call w/ S. Graham to discuss argument and
Baylous, Michael                                   (0.3)                                            2/28/2019     2.80    1,106.00
GRAND TOTAL                                                                                                      32.40 $ 13,110.00




                                                                                                                            Exhibit A
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